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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                              X
THE NEW YORK TIMES COMPANY,                                   :
and BENJAMIN PROTESS,
                                                              :
                                      Plaintiffs,
                                                              :
                                                                   COMPLAINT
                       - against -                            :

DEPARTMENT OF TRANSPORTATION,                                 :

                                                              :
                                       Defendant.
                                                              :

________________________________________________X


Plaintiffs THE NEW YORK TIMES COMPANY and BENJAMIN PROTESS, by their

undersigned attorney, allege for their Complaint:

               1.      This is an action under the Freedom of Information Act, 5 U.S.C. § 552

(“FOIA”), to obtain an order for the production of agency records from the Department of

Transportation (“DOT”) in response to a request properly made by Plaintiffs.

                                            PARTIES

               2.      Plaintiff The New York Times Company publishes The New York Times

newspaper and www.nytimes.com. The New York Times Company is headquartered in this

judicial district at 620 Eighth Avenue, New York, New York.

               3.      Plaintiff Benjamin Protess is a reporter for The New York Times

newspaper and an employee of The New York Times Company.

               4.      Defendant DOT is an agency of the federal government that has

possession and control of the records that Plaintiffs seek.
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                                 JURISDICTION AND VENUE

               5.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B).

               6.      Venue is premised on the place of business of Plaintiffs and is proper in

this district under 5 U.S.C. § 552(a)(4)(B).

               7.      Plaintiffs have exhausted all administrative remedies available in regard to

the request at issue. See U.S.C. § 552(a)(6)(C).

                                               FACTS

               8.      On March 15, 2018, Mr. Protess submitted a FOIA request (the

“Request”) to DOT (2018-0196), seeking “all emails sent or received by Senior Members of the

Office of the Secretary . . . that also contain reference to the Executive Office of the President

(EOP) email domain (@who.eop.gov)” and contain any one of a number of keywords: “Vegas,”

“Ruffin,” “Trump Organization,” “Trump International,” “Trump Hotel,” “Eric Trump,”

“Donald Trump, Jr.,” and “DJT.” The Request identified the “Senior Members of the Office of

the Secretary” as Secretary Elaine Chao, Chief of Staff Geoff Burr, Director of Operations Todd

Inman, Advisor Kristine Iverson, Advisor Derek Kan, Deputy Secretary Jeffrey Rosen,

Counselor to the Deputy Secretary Matt Kopko, and Senior Advisor for Infrastructure Jim Ray.

The Request excludes news clips, but specifically includes “any relevant email that, at one point

in the email chain, referenced the EOP domain.”

               9.      On March 19, 2018, DOT issued a letter to Plaintiff Benjamin Protess

acknowledging receipt of the Request.

               10.     Between April and November 2018, Plaintiff Benjamin Protess inquired

several times with DOT about the status of the Request.

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               11.    DOT repeatedly informed Plaintiff Benjamin Protess that the Request was

being processed and indicated that potentially responsive records existed, but never produced

any records.

                                             COUNT I

               12.    Plaintiffs repeat, reallege, and reincorporate the allegations in the

foregoing paragraphs as though fully set forth herein.

               13.    DOT is an agency subject to FOIA and must therefore release in response

to a FOIA request any disclosable records in its possession at the time of the request and provide

a lawful reason for withholding any other materials as to which it is claiming an exemption.

               14.    Plaintiffs have exhausted all administrative remedies under FOIA, because

DOT has failed to act on the Request within 20 business days. See 5 U.S.C. § 552(a)(6)(A), (C).

               15.    Accordingly, Plaintiffs are entitled to an order compelling DOT to

produce records responsive to the Request.

                                      REQUEST FOR RELIEF

               WHEREFORE, Plaintiffs respectfully request that this Court:

               16.    Declare that the documents sought by the Request, as described in the

foregoing paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;

               17.    Order DOT to provide the requested records to Plaintiffs within 20

business days of the Court’s order;

               18.    Award Plaintiffs the costs of this proceeding, including reasonable

attorney’s fees, as expressly permitted by FOIA; and




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             19.   Grant Plaintiffs such other and further relief as this Court deems just and

proper.



Dated: New York, New York
       January 18, 2019

                                                 _____________/s/_________________
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